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                                UNITED STATES DISTRICT COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                       TAMPA DIVISION

ASHLEY ROBBINS,

        Plaintiff,

v.                                                            Case No: 8:23-cv-1723-KKM-AAS

AIR & LIQUID SYSTEMS
CORPORATION, et al.,

        Defendants.
___________________________________

                       CASE MANAGEMENT AND SCHEDULING ORDER

         Having considered the parties’ Case Management Report, see Fed. R. Civ. P. 26(f) and Local Rule
 3.02(c), the Court enters this Order whose provisions will be strictly enforced.


         1.   Parties are directed to meet the deadlines below:
              Deadline for Initial Disclosures                                       May 24, 2024
              Mediation Notice Deadline                                              June 21, 2024
              Third Party Joinder / Amend Pleading                             September 20, 2024
              Plaintiff Expert Disclosure                                      November 15, 2024
              Defendant Expert Disclosure                                       December 13, 2024
              Rebuttal Expert Disclosure                                            January 3, 2025
              Discovery Cut-Off and Discovery-Related Motions Deadline              March 28, 2025
              Mediation Deadline                                                     April 4, 2025
              Dispositive and Daubert Motions                                       April 25, 2025
              Motions In Limine                                                September 18, 2025
              Joint Pretrial Statement                                              October 2, 2025
              Pretrial Conference                                                   October 9, 2025
              Trial Briefs                                                       October 20, 2025
              Trial Term                                                            November 2025


         2.   Parties are further directed to meet the pretrial disclosure requirements and deadlines in Fed.
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         R. Civ. P. 26(a)(3) and to adhere timely to all requirements in Local Rule 3.06 concerning
         Final Pretrial Procedures, as supplemented herein at ¶ 6.


    3.   This case is referred to court-annexed mediation in accordance with the rules governing
         mediation set forth in Chapter Four of the Local Rules. The parties shall select a Mediator,
         and counsel for Plaintiff is designated as Lead Counsel to coordinate the scheduling of
         mediation.   The    list   of   certified       mediators   is   available   on   the   internet   at
         www.flmd.uscourts.gov under “For Lawyers/Mediation and Settlement.” The list is not
         exclusive, and any certified mediator is permissible. Lead counsel must file a Mediation Notice
         which (a) identifies the selected Mediator and includes address, telephone, and facsimile
         information, (b) sets the date and place for the mediation conference by the above-designated
         date, and (c), if a mediator is not on the Middle District of Florida (Tampa Division)’s online
         list of certified mediators, provide an explanation of the selected mediator’s certification. If
         the parties fail to select a Mediator or do not notify the Court of such selection by the above-
         designated date, the Court may sua sponte and without further notice select an individual to
         serve as Mediator and issue the appointment. The mediation conference may be conducted
         any time on or before the above-designated date.


    4.   Last Date to Mediate: The parties shall complete the mediation conference on or before the
         mediation date set forth earlier in the above table. Neither the mediator nor the parties have
         authority to continue the mediation conference beyond this date except on express order
         of the Court. In any complex case or case involving multiple parties, the mediator has the
         authority to conduct the mediation in a series of sessions and in groups of parties so that
         mediation is complete by the last date to mediate.


    5.   Parties will please note that motions to amend any pleading or a motion for continuance of
         any pretrial conference, hearing or trial filed after issuance of this Case Management and
         Scheduling Order are disfavored. See Fed. R. Civ. P. 16(b)(4); Local Rule 3.08(a).


    6.   A Pretrial Conference will be held before the undersigned in Courtroom 13B, 801 North
         Florida Avenue, Tampa, Florida, on October 9, 2025, at 10:00 AM. Parties are directed to
         meet the pretrial disclosure requirements and deadlines in Fed. R. Civ. P. 26(a)(3) and to


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         adhere to all requirements in Local Rule 3.06 concerning final pretrial procedures. The parties
         shall file a joint Pretrial Statement one week before the above-referenced pretrial conference
         date. Failure to do so may result in the imposition of sanctions. The parties shall file any
         motions in limine three weeks before the Pretrial Conference date and any response to a
         motion in limine one week before the Pretrial Conference date. Counsel who will act as lead
         trial counsel in the case and who is vested with full authority to make and solicit disclosure
         and agreements touching all matters pertaining to the trial must attend the Pretrial
         Conference. Counsel who do not attend the Pretrial Conference will not be permitted to
         participate in trial.


    7.   This case is set for Jury Trial during the term commencing November 3, 2025, before the
         undersigned. This November 2025 trial term shall include the entire month. Estimated
         length of trial: 5–14 days.


    8.   CONSENT TO TRIAL BY MAGISTRATE JUDGE: In accordance with 28 U.S.C.
         § 636(c) and Fed. R. Civ. P. 73, the parties may consent to have a United States Magistrate
         Judge conduct any or all further proceedings in this case, including the trial. Parties are advised
         that a magistrate judge can provide certainty and flexibility in scheduling, including a date
         certain for trial—unlike the district court calendar that assigns only a trial month and is
         subject to frequent changes due to the Court’s criminal calendar. Parties may consent to
         proceed before a magistrate by filing a completed Form AO 85 “Notice, Consent, and
         Reference of a Civil Action to a Magistrate Judge,” which is available on the Court’s website
         under “Filing a Case/Forms/Civil Forms.” Consent is voluntary, and a party for any reason
         can decide not to consent and continue before the district judge without adverse consequences.
         See Fed. R. Civ. P. 73(b)(2).


    9.   SUMMARY JUDGMENT PROCEDURES: The following procedures shall be
         followed by the parties:
            (a)     A party’s claims or defenses for which summary judgment is sought shall be
                    presented in a single motion and incorporated memorandum of law which, absent
                    prior permission of the Court, shall not exceed twenty-five (25) pages total.
                    Multiple motions for summary judgment will not be permitted. A violation of any


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                of these directives will result in the Court sua sponte striking a party’s motion for
                summary judgment and incorporated memorandum of law without notice. Any
                record citations should be to page and line of the filed materials.
          (b)   Seven days before filing a motion for summary judgment, the moving party shall
                confer in good faith with the party or parties against whom summary judgment is
                sought for the purpose of narrowing the factual issues in dispute. When filing the
                motion for summary judgment, the moving party must file a separate “Joint
                Statement of Undisputed Facts” (not exceeding 20 pages in length), agreed upon
                by all parties and with citations to the record. If the parties anticipate filing cross-
                motions for summary judgment, they should file a single “Joint Statement of
                Undisputed Facts” to govern the cross-motions, which shall certify that a good-
                faith conference occurred at least seven days before the first-filed motion.
          (c)   Any party opposing a summary judgment motion shall file a memorandum of law
                in opposition no later than the time allotted pursuant to Local Rule 3.01(c). To the
                extent that the party opposing a motion for summary judgment disputes any facts
                asserted in the motion, the opposing party must include those disputed facts, with
                citations to the record, in the memorandum responding to the motion for summary
                judgment. All material facts set forth by the moving party shall be deemed admitted
                unless controverted by the opposing party in the response to the motion for
                summary judgment.
          (d)   Failure to respond to a motion for summary judgment shall be deemed that the
                non-moving party does not oppose the motion and may result in final judgment
                being entered without a trial or other proceeding.
          (e)   Oral argument or hearings will generally not be held on the motion.
          (f)   A violation of any of these directives will result in the Court sua sponte striking a
                party’s motion for summary judgment without notice.




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    10. For jury trials, not later than fourteen (14) days prior to the date on which the trial term is
        set to commence, the parties shall file the following:
           (a)     Proposed Jury Instructions: The parties must confer about the jury instructions
                   and submit to the Court: 1) all instructions that are undisputed; 2) instructions
                   proposed by the plaintiff but not acceptable to the defense; and 3) instructions
                   proposed by the defense but not acceptable to the plaintiff. A complete set of all
                   written Proposed Jury Instructions shall bear a cover sheet with the complete style
                   of the case and appropriate heading designating the submitting party; there shall be
                   no more than one instruction per page and contain, at the end of each such
                   instruction, citation of authorities; they shall be sequentially numbered and party-
                   identified (e.g., Plaintiff’s Requested Instruction No. 1). Counsel must email
                   proposed jury instructions and verdict forms in Microsoft Word (.doc or .docx)
                   format to the chambers inbox. Include the case number and case name in the subject
                   line;
           (b)     A concise (one paragraph preferably) joint statement of the nature of the action to
                   be used in providing a basic explanation of the case to the jury venire;
           (c)     Proposed Verdict Form; and
           (d)     Proposed Questions for Voir Dire: The court conducts the initial voir dire
                   examination and parties should submit all proposed questions by the above
                   deadline. Counsel may submit additional follow-up questions after the court
                   examines the jury venire, but counsel will ordinarily not be permitted to examine
                   potential jurors.


    11. For jury trials, each party must file a Trial Brief not later than fourteen (14) days prior to
        the date on which the trial term is set to commence. The brief should include citations of
        authorities and arguments specifically addressing all disputed issues of law likely to arise at
        trial.


    12. For bench trials, not later than fourteen (14) days prior to the date on which the trial term
        is set to commence, each party shall file with the Clerk of Court a Trial Brief containing


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        Proposed Findings of Fact and Conclusions of Law along with citations of authorities and
        arguments specifically addressing all disputed issues of law likely to arise at trial. Each
        proposed finding of fact shall be separately stated in numbered paragraphs and shall contain
        a detailed listing of the relevant material facts the party intends to prove, in a simple, narrative
        form. Each proposed conclusion of law shall contain a full exposition of the legal theories
        relied upon by counsel. After the conclusion of a bench trial, the court may allow the parties
        to file additional proposed findings of fact and conclusions of law. The proposed findings of
        fact and conclusions of law must be emailed to the chambers inbox in Microsoft Word (.doc
        or .docx) format.


    13. No later than 9:00 a.m. on the business day before trial, the parties shall provide to the Court
        an exhibit notebook containing marked copies of all exhibits. The parties may contact the
        courtroom deputy clerk to determine whether this requirement may be waived.


    14. SETTLEMENTS: Lead counsel (as designated above, Plaintiff’s counsel) shall immediately
        notify Chambers or the Courtroom Deputy Clerk if their case has settled. See Local Rule
        3.09. Notices of settlement must be in writing. Failure to notify the Court of a settlement
        before noon on Friday, October 31, 2025, will result in the parties being assessed costs for the
        jury venire reporting.


    ORDERED in Tampa, Florida, on May 7, 2024.




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